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                                 No. 23-50627

          In the United States Court of Appeals
                  for the Fifth Circuit
Free Speech Coalition, Incorporated; MG Premium, Limited;
MG Freesites, Limited; WebGroup Czech Republic. a.s.; NKL
 Associates, s.r.o.; Sonesta Technologies, s.r.o.; Sonesta
Media, s.r.o.; Yellow Production, s.r.o.; Paper Street Media,
 L.L.C.; Neptune Media, L.L.C.; Jane Doe; MediaME, S.R.L.;
                Midus Holdings, Incorporated,
                                           Plaintiffs-Appellees,
                                       v.
   Angela Colmenero, Attorney General, State of Texas,
                                       Defendant-Appellant.

               On Appeal from the United States District Court
              for the Western District of Texas, Austin Division

                       BRIEF FOR APPELLANT


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             Certificate of Interested Persons
                         No. 23-50627
Free Speech Coalition, Incorporated; MG Premium, Limited;
MG Freesites, Limited; WebGroup Czech Republic. a.s.; NKL
 Associates, s.r.o.; Sonesta Technologies, s.r.o.; Sonesta
Media, s.r.o.; Yellow Production, s.r.o.; Paper Street Media,
 L.L.C.; Neptune Media, L.L.C.; Jane Doe; MediaME, S.R.L.;
                Midus Holdings, Incorporated,
                                                Plaintiffs-Appellees,
                                          v.
     Angela Colmenero, Attorney General, State of Texas,
                                         Defendant-Appellant.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, appellant, as a govern-

mental party, need not furnish a certiﬁcate of interested persons.

                                        /s/ Lanora C. Pettit
                                        Lanora C. Pettit
                                        Counsel of Record for
                                        Defendant-Appellant




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          Statement Regarding Oral Argument
    This Court has already set this case for oral argument on October 4. The Attor-

ney General agrees that oral argument is appropriate as the law at issue, see Act of

May 25, 2023, 88th Leg., R.S., Ch. 676, § 1 (“H.B. 1181”), is one of several similar

laws aimed at combatting a growing public-health crisis associated with ubiquitous
availability of obscene, degrading, and often violent internet pornography to minors.

See Marc Novicoff, A Simple Law Is Doing the Impossible. It’s Making the Online Porn

Industry Retreat, Politico (Aug. 8, 2023), https://www.politico.com/news/maga-
zine/2023/08/08/age-law-online-porn-00110148. Plaintiffs—one of which “gets

more global users than Amazon or Netflix” and has been described as the “YouTube

of pornography,” id.—have raised several First Amendment challenges as well as a
preemption claim based on the Communications Decency Act (“CDA”). Oral argu-

ment may be of assistance to the Court in assessing these overlapping claims.




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                               Introduction
    Most, if not all, States have long prohibited distributing obscenity to minors.

E.g., Tex. Penal Code § 43.24(b). There is growing, bipartisan consensus that this is

no longer enough: due to the growing ubiquity of such materials on the internet, “ap-

proximately one in ﬁve youth experience unwanted online exposure to sexually ex-
plicit material.” House Comm. on Judiciary & Civil Jurisprudence, Bill Analysis,

Tex. C.S.H.B. 1181, 88th Leg., R.S. (2023). And this explosion of “[p]ornography is

creating a public[-]health crisis and having a corroding influence on minors.” Novi-
coff, supra. Texas has joined the growing movement to combat this crisis by requiring

commercial purveyors of online pornography to take reasonable steps to verify the

age of their customers before displaying sexual material harmful to minors. Id.
Known as H.B. 1181, the statute also requires these websites to warn of the potential

risks associated with viewing such material, including addiction and mental-health

disorders.

    Nothing in H.B. 1181 prohibits anyone from performing in, producing, or pub-

lishing pornography whether on the internet or otherwise. It does not even prohibit

anyone from accessing pornography. The district court thus erred when it concluded
that the State’s law violates the First Amendment and is preempted by Section 230.

ROA.1770. The court compounded that error when it found domestic pornog-

raphers—the only plaintiffs who have rights under the First Amendment—are irrep-

arably harmed given that their subscription-based business model would allow them

to comply with H.B. 1181’s age-veriﬁcation requirements but ignored mounting
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evidence of the deleterious effects of online content that sexualizes violence and glo-

riﬁes the abuse of women. E.g., ROA.508-11.

                    Statement of Jurisdiction
    This Court has jurisdiction under 28 U.S.C. § 1292(a)(1).

                             Issues Presented
    1.   Whether plaintiffs are likely to demonstrate that either the First Amend-

         ment or CDA protect a right to distribute pornography—no matter how ob-

         scene or violent—to internet users of all ages without any warnings regard-

         ing the risks of that content.
    2. Whether the district court erred in concluding that de minimis ﬁnancial

         costs to pornographers outweigh the State’s interests in protecting children

         and public morals from the dangers of their product.

                          Statement of the Case

I. Factual Background

    A. The plague of childhood exposure to pornography
    1. To put it mildly, “[m]ost of today’s pornography does not reflect consen-

sual, loving, healthy relationships. Instead, pornography teaches dominance, aggres-

sion, disrespect, and objectiﬁcation.” Byrin Romney, Screens, Teens, and Porn Scenes:

Legislative Approaches to Protecting Youth from Exposure to Pornography, 45 Vt. L. Rev.

43, 43 (2020) (emphasis omitted). Today, plaintiff Xnxx, for example, hosts more

than 250,000 free videos of “teen bondage gangbangs,” including one in which a
young woman is restrained, gagged, strangled, and slapped while having sexual



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intercourse with multiple men for 36 minutes. ROA.538. In that video, while the

young woman is still tied up, the men strap a device around her head called a “mouth

spreader” or “spider mouth gag” that forces her mouth to remain open for other

sexual acts. ROA.538.
    That video alone has 671,000 views, ROA 538-39. More importantly, it is not

alone. One plaintiff’s site contains 306,230 videos of “perfect girl porn,” 579,497

videos of “teen hardcore” porn, and 328,273 videos of “young petite porn.”
ROA.399. Another’s includes over 200,000 videos in the “Un Consesual” category,

and 198,000 videos in the “Non Consesual Porn Porn videos”—deliberate misspell-

ings to conceal depictions of rape. ROA.368. A third popular category is hentai,
which is the “porniﬁed” version of anime or cartoons, and often features “a gro-

tesque creature penetrating a girl with an enormous phallus or tentacle.” ROA.368.

In 97% of these videos, women are the targets of aggression, most commonly
“[s]panking, gagging, slapping, hair pulling, and choking.” ROA.367-68. The dra-

matic rise in what pornographers euphemistically call “choking,” is particularly con-

cerning given that it is “deﬁned by medical science as ‘nonfatal strangulation’” and
“poses grave neurological harms to victims, including unconsciousness, brain injury,

seizure, motor and speech disorders, memory loss,” and PTSD. ROA.368.

    2. Today’s digital environment offers nearly inexhaustible amounts this mate-
rial. In 2019, for example, plaintiff Pornhub alone transferred 6,597 petabytes of data.

Romney, supra, at 50. That represents “1.36 million hours (169 years) of new content

[that] were uploaded to the site,” id.—or nearly 90,000 times the data that was in

Library of Congress in 2009, Matt Raymond, How ‘Big’ is the Library of Congress,

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Library of Congress Blogs (Feb. 11, 2009), https://blogs.loc.gov/loc/2009/02/how-

big-is-the-library-of-congress. Indeed, Pornhub bragged that if one “started watch-

ing 2019’s new videos in 1850, you’d still be watching them today.” ROA.343 (em-

phasis added).
    With this staggering amount of pornography available, it is perhaps unsurprising

that the average age of pornography exposure is 11. Khadijah B. Watkins, Impact of

Pornography on Youth, 57 J. Am. Acad. Child & Adolescent Psychiatry 89 (2018). One
study reported that participants were as young as eight when they viewed online por-

nography, and 72.8% had done so by 18. Chiara Sabina, Janis Wolak, & David Finkel-

hor, The Nature and Dynamics of Internet Pornography Exposure for Youth, 11 Cy-
berPsychology & Behavior 691, 691-92 (2008). That same study found over a third

of male participants reported viewing “[s]exual activity involving bondage”; almost

a third, “[s]exual activity between people and animals”; over a ﬁfth, “[s]exual activ-
ity involving urine or feces”; and almost that many, “[r]ape or sexual violence.” Id.

at 693. According to British regulators, hentai is particularly popular with “children

aged 6-12.” ROA.369.
    3. Other studies show that children who habitually view pornography exhibit “a

host of mental health afflictions,” including depression, disassociation, and other

behavioral problems such as emulating sexual strangulation, dating violence, and
sexual coercion. ROA.369-70. A British study found that “42% of 15-16-year-olds ex-

pressed the desire to mirror pornography—and more than half of all boys believe that

online porn depicts realistic sexuality.” ROA.370. “Research also shows that minors

who view porn are at a higher risk of adult perpetration of child sexual abuse.”

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ROA.370. Although the risk is more acute with young girls, any child exposed to

pornography is “more likely to display hypersexualization and to develop paraphilias

(e.g., exhibitionism, voyeurism).” ROA.370.

    As science has developed in recent years, it has become clear that dangers from
early exposure to pornography are not limited to sexual proclivities and include a

higher tendency toward use of tobacco, alcohol, and illegal drugs. ROA.371. It can

also lead to symptoms of “irritability, poor social functioning, impulsiveness, and
social anxiety,” as well as “dysfunctional stress responses and poor executive func-

tion, including impairments to judgment, memory, and emotional regulation.”

ROA.371. And it “may trigger adolescent depression and psychosomatic symp-
toms” such as “headache, irritability, [and] trouble sleeping.” ROA.371.

    B. The operation of pornographic websites
    Plaintiffs (collectively, “Pornographers”) operate under various business mod-

els, but they generally fall in two broad categories: advertisement-based, and sub-

scription-based. The ﬁrst category generates revenue from “advertising placements

on its website and through referral fees generated from certain advertisements

placed by third party content creators.” ROA.249. The second generates revenue

from subscriptions, which permit customers to view adult content uploaded by stu-

dios from around the world. ROA.250-51.
    Today, many pornographic websites already employ some form of age

veriﬁcation. For example, many Pornographers have Terms and Conditions that rec-

ognize the need to limit access to pornography to adults. ROA.252. “Individuals at-

tempting to access” such services are “ﬁrst barred by a pop-up requiring them to

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certify that they are at least eighteen years old.” ROA.252. And several Pornog-

raphers use the age-veriﬁcation provider Yoti. ROA.403-04.

    As the Attorney General’s expert explained, the age-veriﬁcation process occurs

on the site’s landing page, where the customer must complete the veriﬁcation before
proceeding further. ROA.1836. Age-veriﬁcation technology comes in three general

types: 1 First, government-issued-document veriﬁcation matches a selﬁe with a pic-

ture of a document through the device’s camera or digital wallet. ROA.1836. Second,
age-estimation algorithms can use up to 126 biometric markers on the face—without

retaining the actual image of the face—to estimates how old the user is based on

facial structure. ROA.1839. Third, software can use the existence of some other fact

to infer the age of the person seeking to access the website. ROA.1840. For example,

a user providing a “.gov” email address would be assumed to be over 18 years old

because he has a government job. ROA.1840. Regardless of the method used, this
process is almost exclusively completed by third parties, who provide Pornographers

only “the answer to the question, ‘Is this person over 18? Yes or No.” ROA.1837.

II. H.B. 1181
    To combat the further spread of this degrading material that is potentially dan-

gerous to minors, the Texas Legislature enacted H.B. 1181. It applies to commercial

entities that “knowingly and intentionally publish[] or distribute[] material on an In-

ternet website, including a social media platform, more than one-third of which is

sexual material harmful to minors.” Tex. Civ. Prac. & Rem. Code § 129B.002(a).

    1
      Similar technology is often used to verify the online purchase of other age-re-
stricted items, such as liquor or tobacco. ROA.1841.

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H.B. 1181’s deﬁnition of sexual material harmful to minors tracks traditional obscen-

ity law and speaks in terms of what is “patently offensive” under “contemporary

community standards,” “appeal[s] to or pander[s] to the prurient interest,” and

“lacks serious literary, artistic, political, or scientiﬁc value for minors.” Id.
§ 129B.001(b)(6).

    Once H.B. 1181 is triggered, the commercial pornographer must do two things:

First, it must “use reasonable age veriﬁcation methods” to verify that the user “is
18 years of age or older.” Id. § 129B.002(a). To comply, the pornographer must re-

quire the potential user to (1) “provide digital identiﬁcation;” or (2) “comply with

a commercial age veriﬁcation system that veriﬁes age using” a “government-issued
identiﬁcation,” or “commercially reasonable method that relies on public or private

transactional data to verify the age of an individual.” Id. § 129B.003(b). To ensure

user privacy, the pornographer “may not retain any identifying information of the
individual.” Id. § 129B.002(b).

    Second, pornographers must display two health warnings on their landing pages

and advertisements. Id. § 129B.004. These warnings are expressly on behalf of the
Texas Health and Human Services Commission and include statements that pornog-

raphy “is potentially biologically addictive,” can “harm human brain develop-

ment,” and has been “associated with low self-esteem” and an increase in “demand
for prostitution” and “child exploitation.” Id. § 129B.004(1). Covered entities must

also alert users of the availability of a national hotline for those “facing mental health

or substance use disorders.” Id. § 129B.004(2).



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    Lastly, H.B. 1181 empowers the Texas Attorney General to bring civil-enforce-

ment actions in state court, in which injunction and civil penalties are available. Id.

§ 129B.006(a), (d).

III. Legal Proceedings
    Four groups of plaintiffs sued Texas’s Provisional Attorney General under 42

U.S.C. § 1983: (1) Free Speech Coalition Inc. (“FSC”), an association of porno-

graphic actors, producers, distributors, and retailers; (2) domestic producers,

sellers, and licensers of pornography (“Domestic Websites”); (3) foreign producers

sellers, and licensers of pornography (“Foreign Websites”); and (4) Jane Doe, a por-

nographic actress whose content is featured on various websites. ROA.19-24. All

Pornographers allege that H.B. 1181 violates the First Amendment, ROA.42-43, and

the Due Process Clause and Equal Protection Clause of the Fourteenth Amendment,

ROA.43. A subset of Pornographers also allege that H.B. 1181 is preempted by 47
U.S.C. § 230, ROA.43-44, and violates their Eighth Amendment rights, ROA.44.

Pornographers moved for a preliminary injunction. ROA.54.

    On August 23, 2023, the district court held a hearing on Pornographers’ mo-

tion—just 16 days after the Attorney General was served. At the hearing, there was

little dispute that much of the content on Pornographers’ websites is obscene. And

the Attorney General presented expert testimony that age-veriﬁcation technology is
“not new” to pornographic websites, which already “use it elsewhere in the world.”

ROA.1854; see ROA.402-03. Despite refusing to view Pornographers’ content,

ROA.1881, the district court insisted that mainstream movies containing partial



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nudity and simulated lovemaking—like Marlon Brando’s Last Tango in Paris—are

“as raw as any pornography,” ROA.1877-78.

    On August 31, the district court issued a preliminary injunction on the grounds

that H.B. 1181 violates the First Amendment, ROA.1770, and that certain Pornog-
raphers are likely to succeed on their Section 230 claims, ROA.1762. This expedited

appeal followed. ROA.1771; ECF 66.

                      Summary of the Argument
    I.A. Having chosen to assert a facial challenge, Pornographers bore “the heavy
burden of showing that either no set of circumstances exists under which the Act

would be valid, or the statute lacks any plainly legitimate sweep.” Turtle Island Foods,

S.P.C. v. Strain, 65 F.4th 211, 220 (5th Cir. 2023) (cleaned up). Pornographers have
not carried that burden on their claim that H.B. 1181 violates the First Amendment.

To start, it “has been categorically settled by the [Supreme] Court, that obscene ma-

terial is unprotected by the First Amendment,” Miller v. California, 413 U.S. 15, 23
(1973), and that is precisely what H.B. 1181 seeks to regulate by limiting minors’ ac-

cess to materials that “appeal to the prurient interest in sex, which portray sexual

conduct in a patently offensive way, and which, taken as a whole, do not have serious

literary, artistic, political, or scientiﬁc value,” id. at 24.

    Even if undisputed presence of obscene material did not defeat Pornographers’

facial claim to First Amendment protection, H.B. 1181 would survive the relevant

level of constitutional scrutiny. The State’s interest in protecting the health and mor-

als of its children from the dangers of pornography is not subject to serious question.

H.B. 1181 is a constitutionally permissible way to serve that interest because it does

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not prevent anyone from publishing pornography or any adult from accessing it. Like

the methods used to restrict access to tobacco products, H.B. 1181 merely requires

users to verify that they are adults and provides warnings in language that the average

person can understand that pornography can be dangerous. Adults are then able to
act as they choose.

    B. Pornographers are just as unlikely to show that H.B. 1181 is preempted by

Section 230, which was after all enacted “to incentivize” actions “blocking explicit
material from reaching children.” Mary Graw Leary, The Indecency and Injustice of

Section 230 of the Communications Decency Act, 41 Harv. J.L. & Pub. Pol’y 553, 559

(2018). Indeed, Section 230 is irrelevant because nothing in that provision immun-
izes Pornographers from regulation of their own content, and H.B. 1181 does nothing

to punish Pornographers for hosting the content of others.

    II. In addition to being likely to succeed on the merits, the remaining stay fac-
tors all favor the Attorney General. Pornographers, many of whom are foreign enti-

ties and lack First Amendment rights, have failed to show any cognizable harm. By

contrast, “[w]hen a statute is enjoined, the State necessarily suffers the irreparable
harm of denying the public interest in the enforcement of its laws.” Veasey v. Abbott,

870 F.3d 387, 391 (5th Cir. 2017) (per curiam). The balance of the equities and the

public interest “merge when the Government is the opposing party.” Nken v.
Holder, 556 U.S. 418, 435 (2009). These concerns are particularly compelling here

where the public interest to be served is to protect vulnerable children from the pub-

lic-health crisis that is resulting from the explosion of online pornography.



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                          Standard of Review
    A “preliminary injunction is an extraordinary remedy which should not be

granted unless the party seeking it has ‘clearly carried the burden of persuasion.’”

Harrison v. Young, 48 F.4th 331, 342 (5th Cir. 2022). Any “plaintiff seeking a pre-

liminary injunction must establish that he is likely to succeed on the merits, that he
is likely to suffer irreparable harm in the absence of preliminary relief, that the bal-

ance of equities tips in his favor, and that an injunction is in the public interest.”

Winter v. NRDC, 555 U.S. 7, 20 (2008). This Court “review[s] a preliminary injunc-
tion for abuse of discretion, reviewing ﬁndings of fact for clear error and conclusions

of law de novo.” Tex. All. for Retired Ams. v. Scott, 28 F.4th 669, 671 (5th Cir. 2022).

                                   Argument

I. Pornographers Failed to Show a Likelihood of Success on the Merits.
    Pornographers “have asked a federal court to invalidate HB [1181] in its entirety
before Texas even tries to enforce it.” NetChoice, L.L.C. v. Paxton, 49 F.4th 439, 448

(5th Cir. 2022). “To put it mildly,” even in the First Amendment context, “pre-

enforcement facial challenges to legislative acts are disfavored” as they require

courts to assess hypothetical facts and threaten to cut off the democratic process.”

Id. (quotation marks omitted). Here, Pornographers are not likely to show a right to

make pornography freely available to minors under either the First Amendment or

Section 230.




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    A. H.B. 1181 comports with the First Amendment.
        1.   The First Amendment does not protect Pornographers’ obscenity.
    Although a notoriously unclear area of law, “[t]his much has been categorically
settled”: obscenity “is unprotected by the First Amendment” and can be regulated.

Miller, 413 U.S. at 23. That is just what H.B. 1181 does. It applies only to sites that

host “sexual material harmful to minors.” Tex. Civ. Prac. & Rem. Code

§ 129B.002(a); see id. § 129B.004. And the statute’s deﬁnition of “[s]exual material

harmful to minors” tracks the Supreme Court’s language in Miller. Compare id.

§ 129B.001(6) with Miller, 413 U.S. at 24. Moreover, although the content on Por-

nographers’ sites is often too graphic to describe to this Court, it ﬁts the Supreme

Court’s “plain examples” of obscenity. Compare Miller, 413 U.S. at 25, with

ROA.506-08, 538-39.

    That H.B. 1181’s deﬁnition “adds the phrases ‘with respect to minors’ and ‘for

minors’” to Miller’s language, ROA.67, does not establish Pornographers’ entitle-

ment to a preliminary injunction on a facial challenge for at least two reasons. First,

the Supreme Court has repeatedly recognized that a legislature may pass laws that

protect minors from material that is “obscene as to youths.” Erznoznik v. City of Jack-

sonville, 422 U.S. 205, 213 (1975) (emphasis added); Sable Commc’ns of Cal., Inc. v.

FCC, 492 U.S. 115, 126 (1989). Although not a blank check, this rule recognizes that

courts must “adjust[t] the deﬁnition of obscenity to social realities,” including that

material appropriate for adults may not be appropriate for children. Brown v. Ent.
Merchants Ass’n, 564 U.S. 786, 793-94 (2011) (quoting Ginsberg v. State of New York,

390 U.S. 629, 638 (1968)). Second, some of Pornographers’ content that satisﬁes


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H.B. 1181’s deﬁnition of “sexual material harmful to minors” also meets the Su-

preme Court’s standard for adult obscenity. See ROA.538-39. And Pornographers

have not alleged that they have separate landing pages and advertisements for their

obscene and non-obscene content, making a preliminary injunction on a facial theory
improper. See Miller, 413 U.S. at 26.

    Pornographers’ authority is not to the contrary. In Reno v. ACLU, the Supreme

Court considered a challenge to a provision of the CDA that criminalized sending or
displaying a lewd message in a way that is available to a minor. 521 U.S. 844, 859

(1997). The Supreme Court held the law unconstitutionally overbroad because it

omitted Miller’s element that obscenity must relate to “sexual conduct.” Id. at 870,
873. H.B. 1181, however, neither criminalizes pornography nor omits this crucial el-

ement; it only takes steps to limit its distribution to children and warn of associated

risks. See Tex. Civ. Prac. & Rem. Code § 129B.001(6). As a result, H.B. 1181 does
not “suppress[]” anything, let alone “a large amount of speech that adults have a

constitutional right to receive and to address to one another.” Reno, 521 U.S. at 874. 2

    Ashcroft v. ACLU, 542 U.S. 656 (2004) (“Ashcroft II”) is similarly distinguisha-
ble—notwithstanding some superﬁcial similarities between H.B. 1181 and the federal

Child Online Protection Act (“COPA”) at issue there. Contra ROA.1709-11. To

start, Brown reafﬁrmed after Ashcroft II that States may protect minors from content

that is obscene as to minors even if adults have a First Amendment right to view


    2
      Decided during the internet’s infancy, Reno felt the need to describe how the
internet worked. 521 U.S. at 849-54. That internet “is unrecognizable today.” Leary,
supra, at 558.

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similar materials. See 564 U.S. at 793-94. Moreover, COPA and H.B. 1181 function

very differently: COPA criminalized the “posting, for ‘commercial purposes,’ of

World Wide Web content that is ‘harmful to minors.’” Ashcroft II, 542 U.S. at 661.

By contrast, H.B. 1811 is not “enforced by severe criminal penalties.” Id. at 660.
And, as far as H.B. 1181 is concerned, Pornographers can create, post, and sell as

much obscenity as the market will tolerate. Thus, Ashcroft II’s foundational prem-

ise—that the challenged law “suppresse[d] a large amount of speech,” id. at 665—
does not apply to H.B. 1181. Similarly, age veriﬁcation is the requirement in H.B.

1181—not an afﬁrmative defense as in COPA, alleviating the risk that “speakers may

self-censor rather than risk the perils of trial.” Id. at 670-71. That is, if Pornographers
require age veriﬁcation and post the required notices, they will not violate H.B. 1181

regardless of what content they offer. See Tex. Civ. Prac. & Rem. Code

§§ 129B.002(a), 129B.004. And ﬁnally, COPA was a federal law. As this Court has
noted, pre-enforcement facial challenges to state laws like H.B. 1181 raise “particu-

larly troublesome” federalism concerns. NetChoice, 49 F.4th at 449.

    Pornographers’ stay response made three counterarguments, all of which fail.
First, Pornographers’ stay response asserts (at 8-9) that the Attorney General has

failed to preserve the argument that Pornographers are without First Amendment

protection because of the obscenity on their websites. Wrong. ROA.485; accord
ROA.674-75, 679. Indeed, the district court expressly recognized that “Defendant

argues that Plaintiffs’ content is ‘obscene’ and therefore undeserving of First

Amendment coverage.” ROA.1712.



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    Second, Pornographers’ motion response denied (at 8-9), conceding that any of

their content is obscene. They did not need to. If a “teen bondage gangbang” video

of a young woman being tied up, gagged, slapped, and penetrated by multiple men,

ROA.538-39, does not “portray sexual conduct in a patently offensive way,” Miller,
413 U.S. at 24, it is difﬁcult to imagine what would. And this not cherry picking. As

described above (at 3), and in the Attorney General’s stay reply (at 3), “sexual prac-

tices involving coercion, deception, non-consent and criminal activity are described
in mainstream online pornography in ways that position them as permissible.”

ROA.509; see also Sabina et al., supra, at 692. Thus, this case is not about Marlon

Brando movies. Contra ROA.1878-79. It is about “family porn,” “young petite
porn,” “anal bondage,” and other, more graphic descriptors that should not be men-

tioned here. See ROA.538.

    Pornographers insist that any obscenity they offer is mingled with non-obscene
material, shielding them from regulation. See Resp. 9-10. But Pornographers do not

claim to have segregated the obscene and non-obscene materials in such a way that

Texas can more narrowly tailor its law to require age veriﬁcation solely for obscene
content.

    Third, Pornographers misleadingly assert that the Attorney General does not

“seriously disput[e] that the law is invalid under binding Supreme Court prece-
dent,” id. at 1, relying heavily on Reno, 521 U.S. 844, and Ashcroft II, 542 U.S. 656,

e.g., Resp. 1, 11. But, as the Attorney General has pointed out above, supra pp. 11-14,

Pornographers’ cases are inapposite. Moreover, Brown, which came after the ACLU

cases, reiterated “the obscenity exception to the First Amendment,” 564 U.S. at

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792, and noted that rational-basis review applies to regulations of material that a

State deems “obscene from the perspective of a child,” id. at 793-94.

         2. H.B. 1181’s age-veriﬁcation requirement does not violate the First
            Amendment.

             a. H.B. 1181 survives Ginsberg’s rational-basis review.
    i.   Assuming that the district court was correct that H.B. 1181 “regulates all

content that is prurient, offensive, and without value to minors” not just “obscene

content,” ROA.1712, this Court should apply rational-basis review under Ginsberg,

390 U.S. at 640. Ginsberg examined a statute prohibiting the sale of materials that
were harmful to minors, which was deﬁned as “any description or representation”

of “nudity, sexual conduct, sexual excitement, or sadomasochistic abuse, when it

(i) predominantly appealed to the prurient, shameful or morbid interest of minors,
(ii) was patently offensive to prevailing standards in the adult community as a whole

with respect to what was suitable for minors, and (iii) is utterly without redeeming

social importance for minors.” Id. at 646; see Tex. Civ. Prac. & Rem. Code

§ 129B.001(6). Ginsberg upheld the statute under rational-basis review based on the

State’s interests in the well-being of children and in preserving the interests of par-

ents. 390 U.S. at 637, 642-43.

    It is no response for Pornographers to again point to Ashcroft II, which upheld a

preliminary injunction based on the availability of less-restrictive means to achieve

the statute’s ends. 542 U.S. at 664. But the Supreme Court never overruled Ginsberg,

instead reafﬁrming the same test in Brown. 564 U.S. at 794. Indeed, the Court never

addressed whether strict scrutiny was the proper standard because the government


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conceded the point. Compare Pet’r’s Br. at 18, Ashcroft II, with Ashcroft II, 542 U.S.

at 665-66. Such “[q]uestions which merely lurk in the record, neither brought to the

attention of the court nor ruled upon, are not to be considered as having been so

decided as to constitute precedents.” Cooper Indus., Inc. v. Aviall Servs., Inc., 543
U.S. 157, 170 (2004).

    Nor is the district court correct that Reno “found [Ginsberg] inapplicable to dig-

ital regulations.” ROA.1710. Instead, Reno distinguished the CDA from Ginsberg be-
cause (1) the CDA did not permit parental consent, (2) the CDA applied to more

than just commercial transactions, (3) the CDA failed to cabin its deﬁnition of harm-

ful material to minors or provide for material with serious social value,” and (4) the
CDA deﬁned “minor” as under 18 rather than 17. Reno, 521 U.S. at 865-67. Except

for the fact that H.B. 1811 deﬁnes minors to include 17-year-olds, those distinctions

are absent: H.B. 1811 applies only to commercial entities and requires age veriﬁcation
by the person accessing their websites. See Tex. Civ. Prac. & Rem. Code

§§ 129B.001(1), .002, .003. Nothing prevents parents from logging on to the sites on

behalf of their children. H.B. 1181 excludes material with serious social value from
the deﬁnition of “sexual material harmful to minors” at each component of the

deﬁnition. Id. § 129B.001(6); Ginsberg, 390 U.S. at 646.

    The only relevant distinctions between H.B. 1811 and Ginsberg is that H.B. 1811
is purely civil and speaks in terms of “serious . . . value for minors,” Tex. Civ. Prac.

& Rem. Code § 129B.001(6), rather than “utterly without redeeming social im-

portance,” Ginsberg, 390 U.S. at 646. But the fact that it is civil rather than criminal

lessens First Amendment concerns. Ashcroft II, 542 U.S. at 660. And the deﬁnitional

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difference permissibly reflects the greater leeway that First Amendment jurispru-

dence gives States since Roth v. United States, 354 U.S. 476, 484 (1957), was replaced

by Miller, 413 U.S. at 24. See William W. Van Alstyne & Kurt T. Lash, The American

First Amendment in the Twenty-First Century 885 (5th ed. 2014).
    ii. H.B. 1811 easily satisﬁes rational-basis review. “It is uncontested that por-

nography inappropriate for children, and the state may regulate a minor’s access to

pornography.” ROA.1714; Ginsberg, 390 U.S. at 640. Indeed, Pornographers have
conceded (for now) that the State’s interest here is compelling. ROA.1714. They had

to. Sable Commc’ns, 492 U.S. at 126 (recognizing a “compelling” interest before ap-

plying strict scrutiny).
    And H.B. 1181 is reasonably related to its interest in protecting children. Cf.

Ginsberg, 390 U.S. at 643. Indeed, Pornographers do not seriously argue that they

can overcome the “strong presumption of validity” associated with this standard of
review. F.C.C. v. Beach Commc’n, Inc., 508 U.S. 307, 314 (1993). For good reason: if

there is a legitimate state interest in preventing children from accessing pornography

on the internet, it is entirely reasonable to require Pornographers to check their cus-
tomers’ age before they access the websites. Because rational-basis review does not

require the government to “draw the perfect line nor even to draw a line superior to

some other line it might have drawn,” H.B. 1181 passes constitutional muster. Ar-
mour v. City of Indianapolis, 566 U.S. 673, 685 (2012).




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             b. Alternatively, H.B. 1181 survives intermediate scrutiny under
                the secondary-effects doctrine.
    If the Court were to disagree and hold that H.B. 1181 is subject to heightened
scrutiny because it distinguishes between content, it would survive such heightened

review under the secondary-effects doctrine. Under this doctrine, a statute is aimed

at the secondary effects of some expressive conduct—such as the effects of noise on
the surrounding community—does not need to survive strict scrutiny. E.g., Ward v.

Rock Against Racism, 491 U.S. 781, 798 (1989). Instead, such regulations “promote[]

a substantial government interest that would be achieved less effectively absent the
regulation,” and do not prevent substantially more speech than necessary to achieve

the goal. Id. at 799 (cleaned up).

    That doctrine is a staple in analyzing a State’s regulation of sexually explicit but
non-obscene expressive conduct like strip clubs. For example, in City of Renton v.

Playtime Theatres, Inc., the Supreme Court upheld a statute that prohibited adult

ﬁlms from being shown in certain areas, 475 U.S. 41, 43 (1986), to “prevent crime,
protect the city’s retail trade, maintain property values,” and in general, “the quality

of urban life,” id. at 48 cleaned up). Such a regulation indisputably makes content-

based distinctions, but the Court concluded the regulation was “aimed not at the

content of the ﬁlms, . . . but rather at the secondary effects” of theatres showing those

ﬁlms in the sensitive areas. Id. at 47.

    H.B. 1181 falls neatly within that doctrine. Though seemingly making content-

based distinctions, H.B. 1811 does not regulate the content of what Pornographers—

which are, in a very real sense, today’s adult theaters—put on their websites.



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Instead, it regulates the secondary effects of that content on the still-developing

minds of children. Supra pp. ___ (recounting the devastating effects of porno-

graphic exposure on minors).

    Again, Reno is not to the contrary because the Supreme Court did not overturn
the secondary-effects doctrine but instead held that it did not save the CDA for two

reasons. First, the CDA applied “broadly to the entire universe of cyberspace,” not

just a limited set of commercial pornographers. Reno, 521 U.S. at 867-68. Second, the
CDA’s purpose was to “protect children from the primary effects of ‘indecent’ and

‘patently offensive’ speech, rather than any ‘secondary’ effect of such speech.” Id.

In reaching its conclusion, Reno cited Boos v. Barry, 485 U.S. 312, 321 (1998), for the
proposition that “‘[r]egulations that focus on the direct impact of speech on its au-

dience’ are not properly analyzed under Renton.” Id.

    Boos demonstrates why this case is properly analyzed under the secondary-ef-
fects doctrine where Reno was not. There, the Court held that regulations on protests

could not be justiﬁed by the secondary effects of “congestion,” interference with

ingress or egress,” “visual clutter,” or “security” because other, non-expressive
conduct caused the same problems and were not regulated. 475 U.S. at 321. In other

words, the only purpose of the regulation in Boos was to shield an unwilling audience

from seeing expression. Id. By contrast, H.B. 1181 is not regulating pornography for
the sake of regulating pornography; it is regulating children’s access to pornography

because of the deep, long-term effects of consuming that content. See supra pp. 4-5;

see also ROA.1100. Curbing such effects on communities, families, and children

themselves constitutes a substantial interest that falls squarely within the secondary-

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effects doctrine. Cf. Paradigm Media Grp., Inc. v. City of Irving, No. 3:01-CV-612-R,

2002 WL 1776922, at *6 (N.D. Tex. July 30, 2002), aff’d 65 F. App’x 509 (5th Cir.

2003).

    Therefore, to survive scrutiny, H.B. 1181 need only promote “a substantial gov-
ernment interest,” and not suppress substantially more speech than necessary to

achieve the government goal. Ward, 491 U.S. at 799. It does so. Again, the State’s

interest in “protecting the physical and psychological well-being of minors” from
this material is not just substantial but compelling. Sable, 492 U.S. at 126. And the

fact that children as young as eight are accessing this material amply demonstrates

that this end cannot be achieved without action. Supra p. 4. Moreover, H.B. 1181 is
adequately tailored. Far from cutting off all avenues for Pornographers to communi-

cate their message, H.B. 1181 just requires that they check to make sure their audi-

ence is an adult while simultaneously protecting the privacy of Pornographers’ cus-
tomers by prohibiting them from storing those customers’ data. Supra p. 7.

             c. H.B. 1181’s age-veriﬁcation requirement survives even strict
                scrutiny.
    Even if strict scrutiny applies, age veriﬁcation is narrowly tailored to the “com-

pelling” governmental interest of protecting minors from sexually explicit content—

and often violent—content. Sable, 492 U.S. at 126. A narrowly tailored law “actually

advances the state’s interest,” “could be replaced by no other regulation that could

advance the interest as well with less infringement of speech,” and is not so under-

inclusive as to undermine the Court’s conﬁdence in the reason for the statute. Tex.

Veterans of Foreign Wars v. Tex. Lottery Comm’n, 760 F.3d 427, 440 (5th Cir. 2014).


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Pornographers do not seem to contest that H.B. 1811 actually serves the purpose of

limiting minors’ access to pornography. It also meets the other elements of this strin-

gent standard.

    i.   H.B. 1811 is not constitutionally overinclusive. In United States v. Stevens,
the Court found that it was “plainly legitimate” for the federal government to crim-

inalize “crush videos”—fetish videos that involved the intentional crushing of small

animals. 559 U.S. 460, 466, 472 (2010). But it concluded the law was overbroad be-
cause it also criminalized “a substantial number” of other types of content—e.g.,

“the humane slaughter of a stolen cow.” Id. at 474-75. As already discussed, far from

prohibiting a “substantial” amount of protected speech, H.B. 1181 does not prohibit
any speech, only that Pornographers check the ages of their customers. Supra p. 14.

    ii. H.B. 1181 is also not impermissibly underinclusive. To start, “even under

strict scrutiny,” a “State need not address all aspects of a problem in one fell
swoop,” and laws are not unconstitutional because they “conceivably could have

restricted even greater amounts of speech in service of their stated interests.” Wil-

liams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015). Moreover, though “underinclusiv-
ity raises a red flag,” it does not render a law unconstitutional because there is “no

freestanding underinclusiveness limitation.” Id. (quotation marks omitted). Instead,

it is simply considered by courts as evidence that “a law does not actually advance a
compelling interest.” Id.; Clay Calvert, Underinclusivity and the First Amendment:

The Legislative Right to Nibble at Problems After Williams-Yulee, 48 Ariz. St. L. J. 525,

529 (2015). If H.B. 1181’s age veriﬁcation is underinclusive, it does not act as a sur-

reptitious end-around for unconstitutional discrimination between speech or

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speaker. For example, the Brown Court considered a statute seeking to protect mi-

nors from violent videogames by requiring a parent’s consent and age labeling to be

signiﬁcantly underinclusive because it did not regulate other media having similar

effects on children—e.g., violent television. 564 U.S. at 789-802.
    The putative gaps in H.B. 1811 identiﬁed by the district court—search engines,

social media, and companies not subject to personal jurisdiction, ROA.1715-16—do

not undermine the purpose of H.B. 1181 for at least two reasons. First, for all their
faults, the Big Tech companies listed in the ﬁrst two categories do not seek proﬁt

from peddling depictions of bestiality and sexual assault—unlike Big Porn. To the

contrary, search engines and many social-media platforms have undertaken volun-
tary efforts to protect minors from sexually explicit content. See, e.g., Instagram,

Community Guidelines, https://help.instagram.com/477434105621119 (prohibiting

nudity) (last visited Sept. 25, 2023). And the record reflects that using a search en-
gine to locate explicit material typically takes the browser to websites that would be

covered by H.B. 1181. ROA.398.

    Second, it is hardly evidence of malintent that Texas has not sought to regulate
entities not subject to its jurisdiction. The presumption against extraterritoriality is,

after all, “a basic premise of our legal system.” RJR Nabisco, Inc. v. European Cmty.,

579 U.S. 325, 335 (2016). Moreover, whether any particular foreign website has
sufﬁcient in-Texas conduct to be subject to Texas’s jurisdiction is a fact-speciﬁc in-

quiry, id. at 337, and thus too uncertain to carry weight in an underinclusivity analy-

sis, see Mink v. AAAA Dev. LLC, 190 F.3d 333, 336 (5th Cir. 1999).



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    iii. Age veriﬁcation could not be replaced by any “other regulation that could

advance the interest as well with less infringement of speech.” Veterans of Foreign

Wars, 760 F.3d at 440. To start, rather than requiring age veriﬁcation in incidental

publication of material harmful to children, H.B. 1181 is narrowly aimed at only those
sites whose business model is signiﬁcantly driven by distributing sexual material

harmful to minors. See Tex. Civ. Prac. & Rem. Code § 129B.002. Age veriﬁcation is

a familiar technology to such sophisticated entities, which offer age-restricted prod-
ucts—including a number of Pornographers. ROA.1854, 403-04. Similar technology

is used by purveyors of nicotine and alcohol as well as common dating sites. 3

    Nothing about pornography transforms this common-sense way to restrict mi-
nors’ access to adult materials into a constitutional violation. Pornographers repeat-

edly tout that Reno expressed a preference for content ﬁltering over veriﬁcation—in

1997. E.g., ROA. 71. That discussion is of little use, however, in assessing what con-
stitutes the least-restrictive means to effectively serve Texas’s interest for at least

two reasons. First, in Reno, the government conceded there was “no effective way to

determine the identity or the age of a user who is accessing material,” as well as con-

cerns about privacy. 521 U.S. at 855. A quarter-century later, commercially viable

methods of age veriﬁcation are available “that do not require them to disclose per-

sonal and sensitive information,” ROA.428—e.g., “selﬁe matching,” ROA.1837,

    3
     See ZYN, Still Have Questions?, ZYN Basics, https://us.zyn.com/questions/;
DoorDash, How is My Age Veriﬁed For Alcohol Orders?, https://help.doordash.com/
consumers/s/article/How-is-my-age-veriﬁed-for-alcohol-orders?language=
en_US; Erica Finkle, Bringing Age Veriﬁcation to Facebook Dating, Meta (Dec. 5,
2022), https://about.fb.com/news/2022/12/facebook-dating-age-veriﬁcation/.

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and age estimation, ROA. 1839-40. Moreover, the same age-veriﬁcation software

could be used for everything from purchasing cigarettes to accessing a dating site,

ROA.1840—making the possibility of harassment extremely unlikely, particularly

given the limitations Texas has placed on retaining the data, Tex. Civ. Prac. & Rem.
Code § 129B.002(b). Because age veriﬁcation preserves online anonymity, “a sub-

stantial amount of protected speech” will not be “chilled in the process” of regulat-

ing these websites. Ashcroft v. ACLU, 535 U.S. 564, 584 n.16, 602 (2002).
    Second, as the Supreme Court itself recognized, there was a “a serious gap in the

evidence” about the effectiveness of blocking and ﬁltering in the late 1990s. Ash-

croft II, 542 U.S. at 671. In the ensuing quarter-century, age veriﬁcation “has proven
an ineffective mechanism” to limit “exposure to adult content by minors.”

ROA.426. Put simply, although parents are the ﬁrst line of defense, their children

are often more adept at circumventing such software than they are at using it.
ROA.425-26, 1842. And, even for parents who are more familiar with the software

than their children, blocking and ﬁltering is only effective if a child seeks to access

pornography on routers “which are in your home”—as opposed to at a friend’s
house, library, or public WiFi network. ROA.1841. As a result, an Oxford study

showed that “internet ﬁltering tools” were “an insigniﬁcant factor in whether young

people had seen explicit sexual content.” ROA.427. Given that childhood pornogra-
phy exposure has “become the major form of sex education for children” notwith-

standing the availability of blocking software, ROA.372, Pornographers are unlikely

to prove that it is an effective, less-restrictive alternative to age veriﬁcation.



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        3. H.B. 1181’s notice requirement does not violate the First
           Amendment.
    Pornographers are also unlikely to show that H.B. 1181’s notice requirement
runs afoul of Zauderer v. Ofﬁce of Disciplinary Counsel, which permits States to re-

quire commercial enterprises to make “purely factual and uncontroversial” disclo-

sure regarding their products so long as they are “reasonably related to the State’s
interest.” 471 U.S. 626, 651 (1985). Even if Zauderer were inapplicable, H.B. 1181

would satisfy Central Hudson Gas & Electric Corporation v. Public Service Commission

of New York, 447 U.S. 557 (1980).
    a. Under Zauderer and its progeny, Texas may require companies to inform

“purchasers about what the [government] has concluded is appropriate use of the

product they are about to buy,” so long as they do not require the company to “take
sides in a heated political controversy.” CTIA–The Wireless Ass’n v. City of Berkeley,

928 F.3d 832, 848 (9th Cir. 2019); see Am. Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d

18, 21 (D.C. Cir. 2014) (en banc). Once triggered, Zauderer requires only rational-
basis review. Oles v. City of New York, No. 22-1620-CV, 2023 WL 3263620, at *3 (2d

Cir. May 5, 2023); Greater Balt. Ctr. for Pregnancy Concerns, Inc. v. Mayor & City

Council of Balt., 721 F.3d 264, 283 (4th Cir. 2013) (en banc). H.B. 1181’s disclosure

requirements satisfy this test.

    H.B. 1181 requires disclosure of factual information about potential risks associ-

ated with pornography use and truthfully notes the existence of a national telephone

hotline. Tex. Civ. Prac. & Rem. Code § 129B.004. Those warnings are made on be-

half of a government agency, alleviating concerns about compelled speech by making



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clear that they cannot be attributed to Pornographers. See Johanns v. Livestock Mktg.

Ass’n, 544 U.S. 550, 564 (2005).

    And those disclosures are reasonably related to Texas’s acknowledged interest

in protecting minors from pornography. E.g., ROA.1714. Common sense and regula-
tory experience reflect that multiple safeguards are often necessary to prevent mi-

nors from obtaining restricted items—even absent the complications speciﬁc to the

internet. E.g., Lotus Vaping Techs., LLC v. FDA, 73 F.4th 657, 674 (9th Cir. 2023).
Indeed, Pornographers admit that age veriﬁcation will not prevent 100% of minors

from accessing their sites, ROA.63, and bemoan that the notices may be so effective

that people will “abandon” their websites, ROA.81. While Pornographers’ fears are
likely overblown, every child deterred by H.B. 1181’s notices is one fewer child who

may be subjected to any of XNXX’s 257,987 “teen bondage” or 196,887 “family

porn” videos. See ROA.538.
    The Legislature could also have reasonably believed that the required notices

would help protect adults from the same risks of addiction and criminal conduct. See

Tex. Civ. Prac. & Rem. Code § 129B.004. Under current doctrine, States may not
prevent adults from viewing non-obscene pornography. Ashcroft v. Free Speech Coal.,

535 U.S. 234, 251 (2002). But States retain power “to prescribe regulations” such

as safety warnings “to promote the health, peace, morals, education, and good order
of the people.” Barbier v. Connolly, 113 U.S. 27, 31 (1884); see Everson v. Bd. of Ed. of

Ewing Twp., 330 U.S. 1, 6 (1947).

    Pornographers protest that Zauderer cannot apply because they dispute whether

their product has the effects described by H.B. 1181. ROA.14-15. “Businesses

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generally do not welcome the mandated inclusion of a disclosure or safety warning

on their products,” yet “courts have consistently rejected the argument that a dis-

closure requirement should be considered controversial because businesses object to

it or the public may be put off by it.” Sabrina S. Adler et. al., You Want a Warning
with That? Sugar-Sweetened Beverages, Safety Warnings, and the Constitution, 71 Food

& Drug L.J. 482, 497 (2016). For example, tobacco companies long denied that their

products were harmful, yet surgeon-general warnings are now ubiquitous. See U.S.
Dep’t of Health & Human Servs., The Health Consequences of Smoking—50 Years of

Progress: A Report of the Surgeon General (2014) at 20, available at http://tinyurl.com/

smokingreport2014.
    Instead, disclosures are “controversial” under Zauderer when they are likely to

chill protected speech, id., or require a commercial entity to take a side in a political

debate, CTIA, 928 F.3d at 848. For example, in CTIA, the Ninth Circuit upheld a
warning requirement for cell phones, notwithstanding a “controversy concerning

whether radio-frequency radiation from cell phones can be dangerous if the phones

are kept too close to a user’s body over a sustained period.” 928 F.3d at 848. Mila-
vetz, Gallop & Milavetz, P.A. v. United States, upheld Minnesota’s consumer-protec-

tion laws even though a law ﬁrm providing bankruptcy assistance vigorously disputed

whether it was a “debt relief agency.” 559 U.S. 229, 249-50 (2010). By contrast,
National Institute of Family and Life Advocates v. Becerra held that requiring crisis

pregnancy centers to disclose the availability state-funded of abortion services be-

cause the required notice (1) “in no way relates to the services that licensed clinics

provide,” but instead (2) “require[d] these clinics to disclose information about

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state-sponsored services—including abortion, anything but an ‘uncontroversial’

topic.” 138 S. Ct. 2361, 2372 (2018).

       Becerra demonstrates why H.B. 1181’s notice requirements fall on the constitu-

tional side of the Zauderer line: First, the notices warn of potential risks of using por-
nography, see Tex. Civ. Prac. & Rem. Code § 129B.004—precisely the “services”

Pornographers provide. Becerra, 138 S. Ct. at 2372. Second, unlike abortion, address-

ing the public-health crisis presented by pornography is not a matter of signiﬁcant
political debate. To the contrary, it has drawn broad, bipartisan support in a growing

number of States. Novicoff, supra. And, third, as already discussed, it will not chill

protected speech. Supra pp. 24-25.
       b. For similar reasons, even if Zauderer were inapplicable, H.B. 1181’s notice

requirement satisﬁes the “lesser protection [accorded] to commercial speech” be-

cause it “directly advances” the “substantial interest,” Central Hudson, 447 U.S. at
563, 566, of protecting children from pornography. Supra pp. 21-22. Given the ex-

traordinary danger pornography poses to minors, see ROA.508-11, the required no-

tices are also “in proportion to” the State’s interest, Central Hudson, 447 U.S. at
564.

       Pornographers counter by identifying two putatively more limited restrictions

on their speech. But Pornographers have not shown that either would be as effective
in serving Texas’s substantial interest. First, relying on the suggestion of Reno and

Ashcroft, Pornographers again suggest content ﬁltering. Resp. 18. But as discussed

above, content ﬁltering has proven “ineffective” to protect children from the grow-

ing flood of pornography. ROA.425-26; supra p. 25. And even Pornographers

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acknowledge that only customers who have circumvented technological blocks de-

signed to prevent minors’ access to the site will ever see these warnings. ROA.75-76.

Second, Pornographers suggest “public-information campaigns, as endorsed in

Becerra.” Resp. 18. But if public-information campaigns were the only constitution-
ally permitted solution, Zauderer would be dead letter. It is not. Becerra, 138 S. Ct. at

2372.

    Nor can Pornographers avoid this conclusion by challenging whether H.B.
1181’s “‘health warnings’ could be understood as mere regulation of commercial

speech.” Resp. 18; ROA.1744-48. Leaving aside that Pornographers are not here as-

serting a purely artistic interest in peddling pornography, the notice requirement ap-
plies only to commercial entities, Tex. Civ. Prac. & Rem. Code §§ 129B.001(1),

129B.002(a), 129B.004, including on advertisements, id. § 129B.004(1). Advertise-

ments are classic commercial speech. Central Hudson, 447 U.S. at 571. Nor does it
matter, as the district court suggested, that “[u]nlike cigarettes, lightbulbs, or food

content, where compelled disclosures have been upheld, sexual material is not a fun-

gible consumer good.” ROA.1745. The same could be said of the mandatory disclo-
sures required from social-media platforms in NetChoice, yet the Court had no trou-

bling upholding the challenged statute as a permissible regulation of “commercial

speech.” 49 F.4th at 485-86. The Court should do the same here.

    B. Section 230 does not preempt H.B. 1181.
    Pornographers are also unlikely to show that Section 230, which “incentiv-

ize[s]” actions designed to “block[] explicit material from reaching children,”

Leary, supra at 559, somehow preempts H.B. 1181. To the contrary, Section 230

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neither immunizes website operators from state-law obligations that do not require

the monitoring or deletion of third-party content, nor supports a right to publish Por-

nographers’ own content. Moreover, if Pornographers are protected by Section 230,

they are not entitled to First Amendment protections.

        1.   Section 230 was enacted to protect children, not pornographers.
    Pornographers’ reliance on Section 230 is ironic given that the law originated in

response to a state-court case that penalized website operator Prodigy for seeking to

operate “a family oriented computer network” by removing content “deemed to be
in bad taste or grossly repugnant to community standards.” Stratton Oakmont, Inc.

v. Prodigy Servs. Co., No. 31063/94, 1995 WL 323710, at *2 (N.Y. Sup. Ct. May 24,

1995). That court concluded that by “prescreen[ing] all bulletin board postings for
offensive language,” id., Prodigy could be held liable as the “publisher” of an anon-

ymous, defamatory post. Id. at *3. Stratton Oakmont “caught the attention of law-

makers who wanted as much ‘indecent’ material as possible removed from the inter-

net so it would be safe for children,” Danielle Keats Citron & Benjamin Wittes, The

Internet Will Not Break: Denying Bad Samaritans § 230 Immunity, 86 Fordham L. Rev.

401, 405 (2017), and led to the passage of the CDA to “protect[] from liability those

providers and users seeking to clean up the Internet,” id. at 406; see also NetChoice,

49 F.4th at 466.

    Section 230 is thus “an effort to control pornography and other non-family-
friendly material on the internet.” Adam Candeub, Reading Section 230 As Written,

1 J. Free Speech L. 139, 142 (2021). Far from reflecting “a broader objective of im-

munizing platforms for destructive third-party content they encourage or

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intentionally tolerate,” Citron & Wittes, supra, at *406, one legislator declared, “We

are all against smut and pornography,” Candeub, supra, at 145 n.19. And another

noted that “Congress has a responsibility to help encourage the private sector to

protect our children from being exposed to obscene and indecent material on the
Internet.” Id.

    Although some early decisions arguably read Section 230 too broadly, see Mal-

warebytes, Inc. v. Enigma Software Grp. USA, LLC, 141 S. Ct. 13, 14 (2020) (Thomas,
J., statement respecting the denial of certiorari), there is a growing consensus among

lower courts that the statute “does not insulate a company from liability for all con-

duct that happens to be transmitted through the internet,” Henderson v. Source for
Pub. Data, L.P., 53 F.4th 110, 129 (4th Cir. 2022). “Instead, protection under

§ 230(c)(1) extends only to bar certain claims, in speciﬁc circumstances, against par-

ticular types of parties.” Id.; see also, e.g., In re Facebook, Inc., 625 S.W.3d 80, 98 (Tex.
2021) (orig. proceeding), cert. denied sub nom. Doe v. Facebook, Inc., 142 S. Ct. 1087

(2022). As the Ninth Circuit has observed, Section 230 “was not meant to create a

lawless no-man’s-land on the Internet.” Fair Hous. Council of San Fernando Valley v.
Roommates.Com, LLC, 521 F.3d 1157, 1164 (9th Cir. 2008) (en banc).

         2. Section 230 does not prohibit the enforcement of H.B. 1181’s
            obligations.
    With striking temerity, Pornographers seek to turn Section 230 from a shield for

good-faith content moderators into a sword for Big Porn. But entitled “Protection
for private blocking and screening of offensive material,” Section 230’s text limits

the liability of website operators in two targeted ways—neither of which has anything


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to say about H.B. 1181’s requirement that Pornographers implement reasonable age-

veriﬁcation measures and post health warnings. See 47 U.S.C. § 230. First, subsec-

tion (c)(1) directly abrogates Stratton Oakmont by providing that “[n]o provider or

user of an interactive computer service shall be treated as the publisher or speaker of
any information provided by another information content provider.” Second, subsec-

tion (c)(2)(A) protects a website “provider or user” from liability “on account of . . .

any action voluntarily taken in good faith to restrict access to or availability” to
(among other enumerated things) “obscene, lewd, lascivious, [or] ﬁlthy” material.

Subsection (c)(2)(B) similarly limits liability for “any action taken to enable or make

available to information content providers or others the technical means to restrict
access to material.” Notably, Section 230(c) protects only the restriction, not the dis-

semination, of content.

    These parts of Section 230(c) work together. Subsection (c)(1) instructs courts
not to treat internet companies as the publishers of third-party content. And, under

subsection (c)(2), they do not become publishers merely because they try to ﬁlter out

harmful material in good faith. See NetChoice, 49 F.4th at 466 (explaining this rela-
tionship); Candeub, supra, at 147 (same). For example, under the Stratton Oakmont

fact pattern, subsection (c)(2) would have prevented Prodigy from being held liable

for good-faith screening to provide a family-friendly environment. By contrast, if
Prodigy had served as a passive conduit, subsection (c)(1) would protect it from lia-

bility for third-party defamatory content. But if Prodigy had created the defamatory

post itself, nothing in subsection (c) would have protected it from liability. See 47

U.S.C. § 230(f)(3).

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    Neither part of Section 230(c) preempts H.B. 1181. H.B. 1181 neither holds Por-

nographers liable for third-party content, see 47 U.S.C. § 230(c)(1), nor imposes lia-

bility for good-faith measures to restrict access to offensive material, see id.

§ 230(c)(2).
    Doe v. MySpace, Inc., 528 F.3d 413 (5th Cir. 2008), is not to the contrary. Contra

ROA.80. Doe was sexually assaulted after she “lied about her age” to access the

defendant’s website. 528 F.3d at 416. This Court held that Section 230 barred her
claims as “merely another way of claiming that MySpace was liable for publishing . . .

third-party-generated content.” Id. at 420. But H.B. 1181 seeks to hold pornographic

sites responsible for failing to protect minors from content they generate and promote,
not just third-party content. See infra, Part I.B.3. In addition, H.B. 1181 does not re-

quire “the monitoring, screening, and deletion of content from” pornographic sites.

Id. (quoting Green v. Am. Online (AOL), 318 F.3d 465, 471 (3d Cir. 2003)). Once
Pornographers use the age-veriﬁcation methods described in Section 129B.003, their

job is done. If a minor lies about his age, circumvents the age veriﬁcation, and is

harmed by content, Pornographers would not be liable. Accord id. at 416.

        3. Pornographers have not shown that they merely host third-party
           content.
    Even if Section 230 could otherwise apply, this record does not support Pornog-

raphers’ reliance on Section 230(c)(1), ROA.79, which applies to information pro-

vided by someone else. Pornographers remain “responsible, in whole or in part, for the

creation or development of information provided through the Internet.” Id.

§ 230(f)(3); Henderson, 53 F.4th at 126 n.22; NetChoice, 49 F.4th at 466.


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    a. Pornographers implicitly recognize that Section 230 cannot protect them if

they create or develop their content, because only a subset assert Section 230 pro-

tection: FSC, MG Premium Ltd as to SpiceVids, MG Freesites Ltd as to Pornhub,

WebGroup as to XVidoes, NKL as to XNxx, and MediaME SRL. ROA.21, 43. The
remaining Pornographers admit that they produce their own content, which is often

uploaded to their co-plaintiffs’ websites. ROA.20-23. The record reflects that these

entities are often run by the same people—for example, Robert Seifert has provided
a declaration that he is afﬁliated with four Pornographers, ROA.265-67; Philippe

Craveiro-Romão with two, ROA.1260-61. Whether each individual website ex-

pressly admits to producing its own content or not, no Pornographer who asserts a
Section 230 claim has shown that it is entitled to relief because none of them has

shown that it hosts exclusively third-party content.

    Two Pornographers’ claims fail on the face of the pleadings. Members of the
trade association, FSC, include “individual adult performers” and entities allegedly

involved “in the production, distribution, sale, and presentation of constitutionally-

protected adult content.” ROA.20 (emphasis added). MG Premium Ltd admits that
it “writes the scripts, hires the production team, and does the pre- and post-produc-

tion work” as well as “upload[ing]” content to other websites. ROA.20-21. Because

these Pornographers are “responsible, in whole or in part, for the creation or devel-
opment of information provided through the Internet,” 47 U.S.C. § 230(f)(3), they

are not entitled to protection under subsection (c)(1), e.g., NetChoice, 49 F.4th at 466.

    Although the Pornographers that run Pornhub, Xnxx, and Porndoe.com allege

that they “host[] content uploaded, owned, copyrighted, and controlled by third

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party content creators,” ROA.21, 23, they cannot allege that do so exclusively. The

evidence shows that Pornhub has included “a channel for Pornhub Originals” for

“about 6 years. Pornhub also has a blog.” ROA.539. Similarly, Xnxx includes “a link

to XNXX ‘Gold,’” “offer[ing] access to ‘Exclusive Content,’” including “XNXX
GOLD originals,” ROA.539. “The website Porndoe.com had a similar scheme

where” the Attorney General’s declarant “could click to get original content.”

ROA.539. MediaME SRL insists that “original” does not mean “Porndoe produced
or created the content,” only “that the content is available only on Porndoe.”

ROA.1260. Such a self-serving declaration, which distorts the ordinary meaning of

“original,” hardly supports the heavy burden to enjoin H.B. 1181.
    That leaves only WebGroup, which presented a declaration that its site XVideos

“hosts content uploaded, owned, copyrighted, and controlled by third party content

creators.” ROA.21; see also ROA.266. Again, the complaint does not assert that
XVideos hosts only third-party content, and the evidence is silent whether XVideos

produces is own content. But that does not save WebGroup: because it had the bur-

den of proof, that silence is deadly. E.g., Daniels Health Scis., L.L.C. v. Vascular
Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013).

    b. Even if a Pornographer hosts only third-party content, that still would not

justify a preliminary injunction, because Section 230 permits liability if Pornog-
raphers are “responsible, in whole or in part, for the creation or development of in-

formation provided through the Internet or any other interactive computer service.”

47 U.S.C. § 230 (f)(3) (emphasis added). Thus, Pornographers can be held liable if,

for example, they alter another’s content, Henderson, 53 F.4th at 129, or help develop

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that content by requiring subscribers to provide information, Roommates.Com, 521

F.3d at 1166. Moreover, Section 230 does not immunize “destructive third-party

content” that websites “encourage or intentionally tolerate”—only content for

which that website serves as a passive conduit. See Citron & Wittes, supra, at *406.
    Here, Pornographers are far from passive conduits for third-party content on

their websites. After all, they promote content in special parts of their websites—

sometimes behind a paywall—as “original” or “exclusive.” ROA.539. And at least
Pornhub, XVideos, Xnxx, and SpiceVids admit that they afﬁrmatively license and ad-

vertise rather than passively host content from other Pornographers. ROA.22-23.

This type of “encourage[ment]” takes Pornographers’ conduct outside the protec-
tion of Section 230. See Citron & Wittes, supra, at *406. To say otherwise would

mean that sophisticated entities like Pornographers could circumvent any limitation

Congress placed on Section 230 by bifurcating their operations between creators and
hosts of obscene content. Cf. Malwarebytes, 141 S. Ct. at 16 (Thomas, J., statement

respecting the denial of certiorari) (warning against such abuse). Such an outcome

should be rejected as irreconcilable with the text, context, or purpose of Section 230,
which was designed to limit the access of children to the exact type of content that

Pornographers seek to peddle. Compare supra Part. I.B.1, with Antonin Scalia &

Bryan A. Garner, Reading Law the Interpretation of Legal Texts 63 (2012) (“A tex-
tually permissible interpretation that furthers rather than obstructs the document’s

purpose should be favored.”).




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         4. To the extent Section 230 protects Pornographers, they cannot
            assert First Amendment claims.
    Finally, the district court wrongly concluded that H.B. 1811 somehow violates
both the First Amendment and Section 230 with respect to the same Pornographers.

ROA.1770. This Court has explained that Pornographers cannot have it both ways

because “§ 230 reflects Congress’s judgment that [websites] are not acting as speak-
ers or publishers when they host user-submitted content.” NetChoice, 49 F.4th at

468. If they are not publishers, then they are not entitled to First Amendment pro-

tection. See id. at 469.
    Pornographers attempt to reconcile these positions by asserting that they may

“assert the rights of Texas adults who visit their sites.” Resp. 19 n.8. Although

opaque, this sentence seems to suggest a view that Pornographers may assert a Sec-
tion 230 claim for themselves and a First Amendment claim for their customers. But

the challenge to H.B. 1181’s notice requirement is not asserted on behalf of custom-

ers, ROA.42, ¶ 80, and the age-veriﬁcation claim is not limited to the First Amend-
ment rights of their customers, see ROA.42-43. It certainly does not try to demon-

strate that requiring adult customers to verify their age before accessing whatever

subset of third-party-produced content that these website may host—which is,

again, the only content that implicates Section 230—would have the type of “lop-

sided” effect on adult customers as to implicate the First Amendment under over-

breadth theory. United States v. Hansen, 143 S. Ct. 1932, 1940 (2023). Absent such




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evidence, Pornographers have failed to establish an entitlement to a preliminary in-

junction. 4

II. The Remaining Preliminary-Injunction Factors Favor the Attorney
    General.

    A. Pornographers did not show irreparable harm.
    In addition to being unlikely to succeed on the merits, Pornographers have failed

to show “[p]erhaps the single most important prerequisite for” interim relief—that
they are “likely to suffer irreparable harm before a decision on the merits can be ren-

dered.” 11A Charles Alan Wright & Arthur R. Miller, Federal Practice and Proce-

dure § 2948.1 (3d ed. 2013 Apr. 2023 update). Pornographers insist that H.B. 1181

“poses a signiﬁcant threat of imminent injury to [their] constitutional rights across

the board,” which “money damages cannot fully repair.” ROA.81. But “invocation

of the First Amendment cannot substitute” for this requirement of demonstrating
“an imminent, non-speculative . . . injury.” Google, Inc. v. Hood, 822 F.3d 212, 228

(5th Cir. 2016). Instead, each Pornographer must demonstrate “a signiﬁcant threat

of injury from [an] impending action,” which is “imminent.” Humana, Inc. v. Jacob-
son, 804 F.2d 1390, 1394 (5th Cir. 1986). No Pornographer can meet this burden, let

alone show that the district court’s sweeping injunction is “no more burdensome to

the defendant than necessary” to remedy that Pornographer’s injury. Califano v. Ya-

masaki, 442 U.S. 682, 702 (1979).

    4
      Policing this burden of proof is particularly important here given that, unlike
the typical case, Section 230 has been raised as a claim rather an afﬁrmative defense.
As a result, the Attorney General has had a limited opportunity to develop facts to
rebut Pornographers’ assertions.

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         1.   The Foreign Websites lack constitutional rights to be irreparably
              harmed.
    a. To start, based on the Foreign Websites’ representations about their oper-
ations, they cannot show irreparable constitutional harm because “it is long settled

as a matter of American constitutional law that foreign citizens outside U.S. territory

do not possess rights under the U.S. Constitution.” USAID v. Alliance for Open Soc.
Int’l, Inc., 140 S. Ct. 2082, 2086 (2020) (“AOSI II”) (citing Boumediene v. Bush, 553

U.S. 723, 770-71 (2008)). It does not matter whether the Foreign Website has an

American afﬁliate: “foreign afﬁliates are foreign organizations,” which “operating
abroad have no First Amendment rights.” Id. at 2088. “[Domestic] plaintiffs cannot

export their own First Amendment rights to shield foreign organizations from Con-

gress’s funding conditions.” Id. at 2089.
    AOSI II examined a law that prohibited the disbursement of government funds

to aid organizations unless they explicitly opposed prostitution and sex trafﬁcking.

140 S. Ct. 2082. In 2013, the Supreme Court struck down this requirement as it ap-
plied to domestic aid agencies. Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,

570 U.S. 205 (2013) (“AOSI I”). Seven years later, AOSI II upheld the same re-

quirement as it applied to the domestic agencies’ foreign afﬁliates because “plain-

tiffs’ foreign afﬁliates are foreign organizations, and foreign organizations operating

abroad have no First Amendment rights.” 140 S. Ct. at 2088.

    AOSI II should have precluded any injunctive relief on behalf of any Foreign

Website as unnecessary to remedy irreparable harm domestic Pornographers may




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have demonstrated. Cf. Califano, 442 U.S. at 702. But see infra Part II.A.2-3 (explain-

ing why no domestic Pornographer has demonstrated such harm).

    b. The district court distinguished AOSI II in what it deemed “two critical

ways.” ROA.1703. Neither distinction is constitutionally signiﬁcant.
    First, the court asserted that unlike in AOSI II, Pornographers “do not seek to

challenge” a law “with extraterritorial effect.” ROA.1703. Neither did the plaintiffs

in AOSI II. 140 S. Ct. at 2085. Instead, the plaintiffs were American agencies assert-
ing that restrictions imposed on foreign afﬁliates—which shared the same name,

trademarks, logos, funding sources, operating structure, and mission—affected their

constitutional rights. Id. at 2094 (J. Breyer, dissenting). The Court rejected this ar-
gument, reiterating that “plaintiffs’ foreign afﬁliates are foreign organizations, and

foreign organizations operating abroad have no First Amendment rights”—notwith-

standing any effect on the American afﬁliate. Id. at 2088.
    Second, the district court distinguished AOSI II because “[t]he foreign NGOs

had no domestic operations and did not plan to convey their relevant speech into the

United States.” ROA.1703. But the court could provide no citation for this factual
distinction because it relies on two faulty premises: (1) that the plaintiffs in AOSI II

were foreign organizations, and (2) that the Foreign Websites should be deemed to

have “domestic operations” because they host a website. As just noted, the ﬁrst
premise is factually wrong. The second is belied by the Foreign Websites own state-

ments that they “do not have ofﬁces” in “the United States and are not registered

to do business in [any] U.S. State.” Declaration of Robert Seifert ¶ 3, Doe v.

WebGroup Czech Republic, et al.; No. 2:21-cv-024828-VAP-SK, U.S. (C.D.

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California 2020), Dkt. 134-5. 5 They also have no employees, property, bank ac-

counts, mailing addresses, phone numbers, or designated agents in this country. Id.

at ¶¶ 3-4. They do not pay U.S. taxes, have U.S. servers, id. at ¶¶ 20-22, or “solicit

from” or aim videos at “any particular country.” Id. at ¶¶ 13, 19.” Id. To hold that

such entities are nonetheless present in the United States would render the principle

behind AOSI II a legal nullity because foreign organizations could create their own

constitutional protections by posting policy statements online, thereby “convey[ing]
their relevant speech into the United States.” ROA.1703. 6

    c. The district court also suggested that the First Amendment rights of U.S.

residents to hear speech provides global constitutional cover for foreign websites op-

erators. See ROA.1705. This is wrong for at least three reasons. First, by its terms,

Section 1983 permits suit only by “any citizen of the United States or other person

within the jurisdiction thereof.” 42 U.S.C. § 1983. Because the Foreign websites are
neither citizens of the United States nor persons within its jurisdiction, they lack

statutory standing to sue. See Vote.Org v. Callanen, 39 F.4th 297, 304 (5th Cir. 2022).


    5
      In Doe v. Webgroup Czech Republic, a.s., NKL Associates and WebGroup Czech
Republic (among others) were sued for broadcasting the victimization of a child who
had been trafﬁcked. No. 2:21-cv-02428-VAP-SKx, 2022 WL 982248 (C.D. Cal. Jan.
13, 2022). Notably, the declarant quoted above, Robert Seifert, also provided a dec-
laration here on behalf of the same two Pornographers, as well as plaintiffs Sonesta
Media, s.r.o. and Sonesta Technologies, s.r.o. ROA.264-68. For the avoidance of
doubt, the Attorney General does not concede the accuracy of Pornographers’ de-
scription of their operations but accept them for the purposes of this appeal.
    6
     Notably, the foreign organizations had websites accessible to U.S. residents,
sometimes sharing website addresses with their U.S.-based afﬁliates. See Br. for
Resp., AOSI II, 2020 WL 1154731, at *8 (U.S. Feb. 26, 2020).

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Nor would Foreign Websites be “the party injured.” Id. The Texan deprived of ac-

cess would be. If U.S. afﬁliates “cannot export their own First Amendment rights to

shield foreign organizations,” AOSI II, 140 S. Ct. at 2088, neither can U.S. customers

do so because wherever such customers are located, the Foreign Website remains a
“foreign organizations, and foreign organizations operating abroad have no First

Amendment rights.” Id.

    Second, the district court’s primary authority is inapposite because unlike here,
the plaintiffs included a domestic audience who were actually deprived of access to

protected speech. Stanley v. Georgia, 394 U.S. 557, 564 (1969); Va. State Board of

Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 756 (1976). Although
the plaintiffs in Kleindienst v. Mandel also included the foreign speaker, he was a

“symbolic” plaintiff without his own constitutional claim. 408 U.S. 753, 762 (1972).

By contrast, none of Pornographers’ potential customers chose to sue even pseudon-
ymously—likely because H.B. 1181 does not cut adults’ access to anything on Por-

nographers’ websites or penalize anyone for producing, distributing, accessing, or

possessing pornography. Cf. Stanley, 394 U.S. at 558.
    Third, similarly misplaced was the court’s reliance on cases involving defama-

tion by foreigners. See ROA.1703-04. As the district court recognized, the substan-

tive law of defamation is itself “signiﬁcantly cabined by the First Amendment,”
ROA.1703 (quoting Manzari v. Associated Newspapers, Ltd., 830 F.3d 881, 884 (9th

Cir. 2016))—regardless of the identity of the defendant. As a result, these cases pro-

vide little guidance regarding whether Foreign Websites can assert claims based on

the First Amendment in the ﬁrst instance. The district court thought it “would make

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little sense to allow Plaintiffs to exercise First Amendment rights as a defense in liti-

gation but deny them the ability to raise a pre-enforcement challenge to imminent

civil liability on the same grounds.” ROA.1704. But this ignores that, the law makes

innumerable distinctions between matters that can be raised as an affirmative de-
fense and what can be raised as a pre-enforcement challenge.

    Thunder Studios, Inc. v. Kazal illustrates why these defamation-by-foreigners

cases are also factually inapt. 13 F.4th 736 (9th Cir. 2021). Thunder Studios involved
speech speciﬁcally targeted to U.S. residents about U.S. residents on the streets of

California. Id. at 739-40. According to the Ninth Circuit, this fact distinguished

Thunder Studios from AOSI II notwithstanding that the defendants were residents of
Australia. Id. at 744. By contrast, the Foreign Websites go to great efforts to have no

contact with the United States, supra pp. 41-42, and they post non-targeted content

on the “decentralized, global medium of communication that links people, institu-
tions, corporations, and governments around the world.” ROA.28.

                                           ***

      In sum, because the Foreign Websites are “foreign organizations operating

abroad,” they “have no First Amendment rights,” AOSI II, 140 S. Ct. at 2088, and

thus cannot face a “signiﬁcant threat of imminent injury to constitutional rights”

sufﬁcient to justify a preliminary injunction, contra ROA.81.

         2. Pornographers have not shown that H.B. 1181 affects their
            viewership, let alone causes irreparable harm.
    Domestic Websites can (in theory) establish such a harm, but they face an uphill

battle in doing so because the record reflects the cost of complying with H.B. 1181


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amounts to a few cents per subscriber, ROA.559-60, which will be passed on to their

customers. Their alternative theory—that they will suffer a loss of goodwill “as

Texas adults abandon Plaintiffs’ platforms in response to the demand that they re-

veal personal information and the false ‘health warnings’ [H.B. 1181] requires,”
ROA.81—also fails for at least four reasons. 7

    First, the Pornographers provide no evidence that H.B. 1181 reduces adult view-

ership. This absence is particularly noticeable because they have implemented age

veriﬁcation in other places—for example, just across the border in Louisiana.

ROA.543, 1854, 1856-57.

    Second, assuming a loss of adult viewership, a right to speak does not include an
untrammeled right of access to any audience. E.g., Snyder v. Phelps, 562 U.S. 443,

459 (2011) (summarizing the captive-audience doctrine); Perry Educ. Ass’n v. Perry

Local Educators’ Ass’n, 460 U.S. 37, 48 (1983) (allowing a school to limit access to
teachers’ mailboxes). And “First Amendment jurisprudence has [speciﬁcally]

acknowledged limitations on the otherwise absolute interest of the speaker in reach-

ing an unlimited audience where the speech is sexually explicit and the audience may
include children.” Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 684 (1986). Por-

nographers make no effort to disentangle any (hypothetical) loss in viewership from

a loss of good will among adults.




    7
     If the Court concludes the Foreign Websites have constitutional rights, these
arguments also foreclose their reliance on a loss of goodwill to establish irreparable
harm.

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    Third, the Court cannot presume a loss of good will given that everyone involved

in this case agrees that children should not have access to pornography. See, e.g.,

ROA.259, 1858. As does a broad, bipartisan coalition of the electorate. Supra pp. 1,

29. As a result, it is far from a given that whichever Domestic Websites have not yet
voluntarily adopted age-veriﬁcation technology would lose good will by taking such

a common-sense step to protect children.

    And fourth, the Domestic Websites are especially unlikely to suffer harm because
they are subscription-based. ROA.22-23. As a result, they already collect account

and payment information from their customers. See ROA.22-23. Pornographers have

provided no evidence that such customers will abandon the Domestic Websites upon
the implementation of a secure, reasonable method of age veriﬁcation. And absent

such evidence, Pornographers have not shown they are entitled to the extraordinary

relief of a preliminary injunction facially invalidating a state law. Cf. Netchoice, 49 F.
4th at 449 (noting that courts “look particularly askance at a litigant who wants un-

elected federal judges to countermand the State’s democratically accountable policy

makers”).

         3. Jane Doe cannot show harm at all.
    Jane Doe, who makes and publishes pornographic videos on various porno-

graphic websites, cannot bridge the gap left by the institutional Pornographers.

ROA.259. Even assuming the pseudonymous Doe has First Amendment rights be-

cause she is an American citizen operating in America, see supra Part II.A.1, H.B.

1181 says nothing about performing in pornography, and Doe has not alleged that she



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operates a pornographic website. As a result, H.B. 1181 will have no effect on her—

even if it may cause some pornographic websites to incur additional, marginal costs.

    Doe counters that though her “business consists of producing legal content—

featuring only consenting adults,” she will be harmed because “the restrictions the
Act would place on [her] ability to reach [her] audience,” ROA.23; see also ROA.259.

But she has no more right to an “unlimited audience where [her] speech is sexually

explicit and the audience may include children” than her institutional co-plaintiffs.
Fraser, 478 U.S. at 684. 8

    Doe’s main complaint is that she disagrees with H.B. 1181. ROA.23. But “[t]hat

is a generalized psychological injury, not a particularized free-speech one.”

McMahon v. Fenves, 946 F.3d 266, 271 (5th Cir. 2020). Doe’s “passion, however sin-

cere, does not place [her] among the injured.” Id. at 272. Without an injury, Doe is

not entitled to the extraordinary relief of a preliminary injunction.

         4. Because FSC’s members have not shown irreparable harm, neither
            has FSC.
    Because FSC relies on associational standing, its members’ failure to establish

irreparable harm means it has also failed to meet this crucial prerequisite. ROA.68,

81-82. Although FSC also claims harm on behalf of viewers, ROA.20, it only has

“standing to bring suit on behalf of its members” and then only when (among other

things) “its members would otherwise have standing to sue in their own right.” Hunt

    8
     To the extent Doe is asserting that there will be a ripple effect on her viewer-
generated revenues, such a theory involves a “chain of contingencies” that would—
given the complete absent evidence—not support standing, let alone a preliminary
injunction. Clapper v. Amnesty Intern. USA, 568 U.S. 398, 410 (2013).

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v. Wash. Apple Advert. Comm’n, 432 U.S. 333, 343 (1977) (emphasis added); see also

Ass’n of Am. Physicians & Surgeons v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010).

Based on the complaint, FSC’s membership includes “hundreds of businesses and

individuals involved in the production, distribution, sale and presentation” of inter-
net pornography. ROA.20. Given the absence of any allegation that its members in-

clude consumers of pornography, the Court must presume those members can be di-

vided into the same three categories as plaintiffs in this suit—namely Foreign Web-
sites, Domestic Websites, and Individual Performers. ROA.19-24, 672. Such mem-

bers have not shown irreparable harm, so neither has FSC.

    Virginia v. American Booksellers Association, 484 U.S. 383 (1988), does not permit
FSC to sue on behalf of all viewers of pornography. Contra ROA.20, 68. That case

allowed plaintiff bookstores to assert the constitutional interests of their customers

not on associational standing but on the narrow doctrine of third-party standing. See
484 U.S. at 642-43; see also Harris v. Evans, 20 F.3d 1118 (11th Cir. 1994). That doc-

trine, however, requires a “close relationship between the party asserting the right

and the person who possesses the right” and some impediment to that person’s abil-
ity to sue on their own behalf. Kowalski v. Tesmer, 543 U.S. 125, 125 (2004). FSC—

which professes not to know whether visitors to its members’ websites are adults—

can hardly show a “close relationship.” And it certainly has offered no evidence that
those unidentiﬁed customers are impeded from bringing their own suit for simply

being asked to verifywhether they are adults or children. Thus, FSC is not entitled

to a preliminary injunction.



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    B. The balance of equities favors the Attorney General.
    Finally, the district court erred in failing to “pay particular regard for the public

consequences in employing the extraordinary remedy of injunction.” Winter, 555

U.S. at 24. “When a statute is enjoined, the State necessarily suffers the irreparable

harm of denying the public interest in the enforcement of its laws.” Veasey, 870 F.3d
at 391; see also, e.g., Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers); Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734

F.3d 406, 419 (5th Cir. 2013). And because the State is defendant, its interest merge
with those of the public. Nken, 556 U.S. at 435.

    Those sovereignty-based injuries are particularly acute here given that the law

in question is designed to protect the emotional, mental, and physical wellbeing of
Texas children. Supra pp. 4-5. Such an interest “is a hurdle which must be overcome

before employing the drastic remedy of interim injunctive relief,” Miss. Power &

Light Co. v. United Gas Pipeline Co., 760 F.2d 618, 633 (5th Cir. 1985), and cannot be

overcome here given the non-existent injuries imposed on each of the Pornog-

raphers. Put another way, because enforcing H.B. 1181 violates no First Amendment

right, and enjoining H.B. 1181 protects no child, the equities overwhelming favor al-
lowing the implementation of H.B. 1181 to proceed as soon as possible.




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                                Conclusion
   The Court should reverse and remand.

                                   Respectfully submitted.

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                                      /s/ Lanora C. Pettit
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